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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                             :
UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 1:21-cr-00186-CRC
                                             :
DAVID ALAN BLAIR,                            :
                                             :
                       Defendant.            :
                                             :


GOVERNMENT’S MOTION FOR ENLARGEMENT OF TIME TO FILE, AND LEAVE
TO LATE-FILE, RESPONSE TO DEFENDANT’S (AMENDED) MOTION TO DISMISS
                            INDICTMENT

       The United States of America, by and through the United States Attorney for the District

of Columbia, hereby moves for enlargement of time to file, and leave to late-file, its response to

the defendant’s amended motion to dismiss the indictment (ECF # 26). The amended motion

was filed on November 10, 2021, making the government’s response due by November 24, 2021.

See D.C. L. Cr. R. 47(b). The government missed the response deadline because undersigned

counsel has been in trial since October 28, 2021, and has also been preparing for another trial

scheduled to start tomorrow (November 29, 2021).

       Accordingly, the government seeks leave to late-file its response, and an enlargement of

time to file till December 5, 2021.

       Counsel for the defense has not yet responded to the government’s request for its position

on this motion.

       A proposed Order is attached.
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                                 Respectfully submitted,

                                 MATTHEW M. GRAVES
                                 ACTING UNITED STATES ATTORNEY

                                 /s/Michael C. Liebman
                                 Michael C. Liebman
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